Case 1:03-cr-00145-MAC-ZJH    Document 160       Filed 05/23/11   Page 1 of 7 PageID #:
                                     373



            IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TEXAS
                     BEAUMONT DIVISION



                                No. 1:03CR145-4


 United States of America


 v.


 James A. Godfrey
                                                Defendant




           Report and Recommendation Re: Petition for Warrant
               or Summons for Offender Under Supervision


       Pending is a “Petition for Warrant or Summons for Offender Under
 Supervision,” filed November 2, 2009, alleging that defendant violated conditions
 of supervised release. This matter is referred to the undersigned United States
 magistrate judge for review, hearing, and submission of a report with
 recommended findings of fact and conclusions of law. See United States v.
 Rodriguez, 23 F.3d 919, 920 n.1 (5th Cir. 1994); see also 18 U.S.C. § 3401(i)
 (2000); Local Rules for the Assignment of Duties to United States Magistrate
 Judges.




                                       1 of 7
Case 1:03-cr-00145-MAC-ZJH     Document 160     Filed 05/23/11   Page 2 of 7 PageID #:
                                      374



                 I. The Original Conviction and Sentence

       Defendant was sentenced on March 16, 2004, before The Honorable Marcia
 A. Crone, U.S. District Judge of the Eastern District of Texas, after pleading
 guilty to the offense of possession with intent to distribute 5 grams or more but
 less than 50 grams cocaine base, a Class B felony.         This offense carried a
 statutory maximum imprisonment term of 40 years.                   The guideline
 imprisonment range, based on a total offense level of 27 and a criminal history
 category of IV, was 100 to 125 months. Defendant was subsequently sentenced
 to 125 months imprisonment followed by 5 years supervised release subject to
 the standard conditions of release, plus special conditions: financial disclosure;
 defendant shall not consume any intoxicant that is not prescribed by a physician;
 drug aftercare; complete a GED; mental health treatment including anger
 management; and a $100 special assessment.

                        II. The Period of Supervision

       On October 21, 2009, defendant completed his period of imprisonment and
 began service of the supervision term.

                                III. The Petition

       United States Probation filed the pending Petition for Warrant or
 Summons for Offender Under Supervision on November 2, 2009. The petition
 alleges that defendant violated the following conditions of release:
       1. Mandatory Condition:        Defendant shall not commit another federal,
                                      state, or local crime.

       2. Mandatory Condition:        D efendant shall not illegally posses a
                                      controlled substance.




                                       2 of 7
Case 1:03-cr-00145-MAC-ZJH    Document 160      Filed 05/23/11   Page 3 of 7 PageID #:
                                     375



       3. Standard Condition:         Defendant shall not frequent places where
                                      controlled substances are illegally sold,
                                      used, distributed, or administered.

       4. Standard Condition:         Defendant shall not associate with any
                                      persons engaged in criminal activity, and
                                      shall not associate with any person
                                      convicted of a felony unless granted
                                      permission to do so by the probation officer.
       As grounds, the petition alleges that: 1. On or about October 27, 2009,
 defendant was arrested by DEA and charged with knowingly and intentionally
 conspiring to distribute and possess with intent to distribute a Schedule II
 controlled substance, namely cocaine base, in an amount of 50 grams or more.
 He is currently detained in the Jefferson County Jail in Beaumont, Texas. 2. On
 or about October 27, 2009, defendant illegally possessed crack cocaine, as
 indicated by an affidavit prepared by the DEA. The report indicated prior to
 defendant’s arrest, he was observed to discard a plastic bag in a trash can
 contained within the yard area of the residence. An inspection of the plastic bag
 revealed approximately 345 grams of cocaine HCL. 3.On or about October 27,
 2009, defendant and a codefendant, Jamar Dantrelle Ross, were arrested at
 defendant’s reported address and cocaine HCL was found in the amount of 345
 grams at his residence. 4. On or about October 27, 2009, defendant was arrested
 with Jamar Dantrelle Ross for knowingly and intentionally conspiring to
 distribute and possess with intent to distribute a Schedule II controlled
 substance, namely cocaine base, in an amount of 50 grams or more, at
 defendant’s reported address.

                                 IV. Proceedings

       On May 19, 2011, the undersigned United States Magistrate Judge
 convened a hearing pursuant to Rule 32.1, Federal Rules of Criminal Procedure,

                                       3 of 7
Case 1:03-cr-00145-MAC-ZJH     Document 160     Filed 05/23/11   Page 4 of 7 PageID #:
                                      376



 to hear evidence and argument on whether defendant violated conditions of
 supervised release, and the appropriate course of action for any such violations.

       At the revocation hearing, counsel for the government and the defendant
 announced an agreement as to a recommended disposition. Defendant agreed
 to plead “true” to the allegation that he violated a standard condition of
 supervised release by associating with persons engaged in criminal activity
 without permission to do so by the probation officer. In exchange for defendant’s
 plea of “true,” the government agreed to decline to proceed with remaining
 alleged violations of supervised release conditions. Further, the parties agreed
 the court should revoke defendant’s supervised release and impose 6 months
 imprisonment, with no term of supervised release thereafter.

       At the revocation hearing, defendant pled “true” to the allegation that he
 violated a standard condition of supervised release by associating with persons
 engaged in criminal activity without permission to do so by the probation officer.

                           V. Principles of Analysis

       According to Title 18 U.S.C. § 3583(e)(3), the Court may revoke a term of
 supervised release and require the defendant to serve in prison all or part of the
 term of supervised release authorized by statute for the offense that resulted in
 such term of supervised release without credit for time previously served on
 post-release supervision, if the Court, pursuant to the Federal Rules of Criminal
 Procedure applicable to revocation of probation or supervised release, finds by
 a preponderance of the evidence that the defendant violated a condition of
 supervised release. The original offense of conviction was a Class B felony;
 therefore, the maximum term of imprisonment authorized under 18 U.S.C. §
 3583(e)(3) is 3 years.


                                       4 of 7
Case 1:03-cr-00145-MAC-ZJH     Document 160     Filed 05/23/11   Page 5 of 7 PageID #:
                                      377



       According to U.S.S.G. § 7B1.1(a), if the court finds by a preponderance of
 the evidence that defendant violated a standard condition of supervised release
 by associating with persons engaged in criminal activity without permission to
 do so by the probation officer, defendant will be guilty of committing a Grade C
 violation. U.S.S.G. § 7B1.3(a)(2) indicates upon a finding of a Grade C violation,
 the court may (A) revoke probation or supervised release; or (B) extend the term
 of probation or supervised release and/or modify the conditions of supervision.
 U.S.S.G. § 7B1.4(a) provides that in defendant’s case a revocation of supervised
 release based on a Grade C violation and a criminal history category of IV, the
 guideline imprisonment range is 6 to 12 months.

       According to U.S.S.G § 7B1.3(f), any term of imprisonment imposed upon
 revocation of probation or supervised release shall be ordered to be served
 consecutively to any sentence of imprisonment that the defendant is serving,
 whether or not the sentence of imprisonment being served resulted from the
 conduct that is the basis of the revocation of probation or supervised release.

       18 U.S.C. §§ 3583(e) and 3553(a) provide that in determining sentence, the
 court shall consider:
       1.    The nature and circumstance of the offense and the history and
             characteristics of the defendant; see 18 U.S.C. § 3553(a)(1);

       2.    The need for the sentence imposed to afford adequate deterrence to
             criminal conduct; to protect the public from further crimes of the
             defendant; and to provide the defendant with needed educational or
             vocational training, medical care, other corrective treatment in the
             most effective manner; see 18 U.S.C. §§ 3553 (a)(2)(B)-(D);

       3.    Applicable guidelines and policy statement issued by the Sentencing
             Commission, for the appropriate application of the provisions when
             modifying or revoking supervised release pursuant to 28 U.S.C. §


                                       5 of 7
Case 1:03-cr-00145-MAC-ZJH    Document 160      Filed 05/23/11   Page 6 of 7 PageID #:
                                     378



             994(a)(3), that are in effect on the date the defendant is sentenced;
             see 18 U.S.C. 3553(a)(4); see also 28 U.S.C. § 924(A)(3);

       4.    Any pertinent policy statement issued by the Sentencing
             Commission, pursuant to 28 U.S.C. § 994(a)(2), that is in effect on
             the date the defendant is sentenced; see 18 U.S.C. § 3553(a)(5); and

       5.    The need to avoid unwarranted sentence disparities among
             defendants with similar records who have been found guilty of
             similar conduct; see 18 U.S.C. § 3553(A)(6).


                                VI. Application

       Defendant pled “true” to the allegation that he violated a standard
 condition of supervised release by associating with persons engaged in criminal
 activity without permission to do so by the probation officer.        Based upon
 defendant’s plea of “true” to the allegations and U.S.S.G. § 7B1.1(a), the
 undersigned finds that defendant violated conditions of supervised release.

       The undersigned has carefully considered each of the five factors listed in
 18 U.S.C. §§ 3583(e) and 3553(a). Defendant’s violation is a Grade C violation,
 and defendant's criminal history category is IV. Policy guidelines suggest 6 to
 12 months imprisonment upon revocation. Defendant has demonstrated an
 inability to adhere to conditions of supervision. Defendant did not comply with
 the conditions of his supervision by associating with persons engaged in criminal
 activity without permission to do so by the probation officer.           As such,
 incarceration appropriately addresses defendant’s violation. The sentencing
 objectives of punishment, deterrence and rehabilitation will best be served by a
 term of incarceration.




                                       6 of 7
Case 1:03-cr-00145-MAC-ZJH    Document 160     Filed 05/23/11   Page 7 of 7 PageID #:
                                     379



                             RECOMMENDATIONS

       1.    The court should find that defendant violated a standard
             condition of supervised release, by associating with persons
             engaged in criminal activity without permission to do so by
             the probation officer, in the manner alleged in the petition.

       2.    The petition should be granted and defendant’s supervised
             release should be revoked pursuant to 18 U.S.C. § 3565.

       3.    Defendant should be sentenced to a term of imprisonment of
             6 months to be served consecutively to any sentence of
             imprisonment that the defendant is serving.

       4.    Upon release of imprisonment, defendant should not be placed
             on supervised release.


                              OBJECTIONS

       At the close of the revocation hearing, defendant, defense counsel, and
 counsel for the government each signed a standard form waiving their right to
 object to the proposed findings and recommendations contained in this report,
 consenting to revocation of supervised release as recommended herein, and
 consenting to the imposition of the above sentence recommended in this report.
 Defendant waived his right to be present and speak before the district judge
 imposes the recommended sentence. Therefore, the court may act on the report
 and recommendation immediately.


                    23 day of May, 2011.
       SIGNED this _____


                                     ______________________________________
                                     Earl S. Hines
                                     United States Magistrate Judge

                                      7 of 7
